USDC IN/ND case 3:06-cv-00226-TLS-CAN                document 22        filed 01/17/07      page 1 of 5


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 BOBBY LOUIS PECK,                              )
                                                )
                         Plaintiff,             )
                                                )      CAUSE NO. 3:06-CV-226 AS
        v.                                      )
                                                )
 CECIL K. DAVIS, et al.,                        )
                                                )
                         Defendants.            )

                                       OPINION AND ORDER

        Bobby Louis Peck, a pro se prisoner, submitted a second amended complaint (docket # 20)

 under 42 U.S.C. § 1983. Pursuant to 28 U.S.C. § 1915A, the court must review the merits of a

 prisoner complaint and dismiss it if the action is frivolous or malicious, fails to state a claim upon

 which relief may be granted, or seeks monetary relief against a defendant who is immune from such

 relief. FED . R. CIV . P. 12(b)(6) provides for the dismissal of a complaint, or any portion of a

 complaint, for failure to state a claim upon which relief can be granted. The court applies the same

 standard under § 1915A as when addressing a motion under Rule 12(b)(6). Weiss v. Colley, 230 F.3d

 1027 (7th Cir. 2000).

        A claim may be dismissed only if it appears beyond doubt that the plaintiff can prove
        no set of facts in support of his claim which would entitle him to relief. Allegations
        of a pro se complaint are held to less stringent standards than formal pleadings
        drafted by lawyers. Accordingly, pro se complaints are liberally construed.
                 In order to state a cause of action under 42 U.S.C. § 1983, the Supreme Court
        requires only two elements: First, the plaintiff must allege that some person has
        deprived him of a federal right. Second, he must allege that the person who has
        deprived him of the right acted under color of state law. These elements may be put
        forth in a short and plain statement of the claim showing that the pleader is entitled
        to relief. FED . R. CIV . P. 8(a)(2). In reviewing the complaint on a motion to dismiss,
        no more is required from plaintiff's allegations of intent than what would satisfy Rule
        8's notice pleading minimum and Rule 9(b)'s requirement that motive and intent be
        pleaded generally.
USDC IN/ND case 3:06-cv-00226-TLS-CAN                   document 22      filed 01/17/07      page 2 of 5


 Alvarado v. Litscher, 267 F.3d 648, 651 (7th Cir. 2001) (citations, quotation marks and ellipsis

 omitted).

        In this court’s prior screening, the court dismissed Mr. Peck’s underlying claims and allowed

 him to proceed only on his retaliation claims. That is to say, the court found that though the alleged

 acts themselves did not state a claim, performing those actions in retaliation did state a claim because

 prison officials may not retaliate against an inmate for exercising his First Amendment rights, even

 if their actions do not independently violate the Constitution. In this complaint, Mr. Peck now

 abandons his underlying claims and expands his allegations of retaliation.

        Mr. Peck alleges that he testified in a civil proceeding against Investigator Charles E.

 Whelan. He alleges that in retaliation for that protected activity, Investigator Whelan filed a false

 disciplinary report on March 2, 2005 alleging that he engaged in trafficking. He alleges that in

 retaliation for his appealing the finding of guilt, Investigator Whelan retaliated against him by

 punishing him and by falsely claiming that he was a gang member who engaged in trafficking.

        Also in retaliation for his civil proceeding testimony against Investigator Whelan, he alleges

 that: Barbara L. Roseborough and Farshawna L. Crook provided false statements; Jason P.

 Nowatzke, James L. Cadwell, Bessie E. Leonard, Ernesto Delao, and Kristina J. McCarty prevented

 him from submitting exculpatory evidence at his hearing; and Donald M. Bates twice denied him

 a fair appellate review of his hearing.

        In retaliation for both his civil proceeding testimony against Investigator Whelan and for his

 appealing the finding of guilt, he alleges that John C. Cosich, Larry A. Ludwig, and Kyle R. Moore

 prevented him from submitting exculpatory evidence. He also alleges that, in retaliation for his




                                                    2
USDC IN/ND case 3:06-cv-00226-TLS-CAN                   document 22      filed 01/17/07      page 3 of 5


 appealing the finding of guilt, William H. Wilson, Robert Roose, Daniel Bodlovich, Edwin Buss,

 James Wynn, Rondle Anderson, and Cecil K. Davis subjected him to administrative segregation.

         Prison officials may not retaliate against an inmate for exercising his First Amendment rights,

 even if their actions would not independently violate the Constitution. See Zimmerman v. Tribble,

 226 F.3d 568, 573 (7th Cir.2000). To state a claim for retaliation, the complaint must first allege that

 the plaintiff was engaged in a Constitutionally protected activity and second, that engaging in that

 activity was a substantial or motivating factor in the defendant’s actions against him. See Mt. Healthy

 City School District v. Doyle, 429 U.S. 274 (1977). That is to say, the plaintiff must allege that the

 retaliatory act would not have occurred “but for” the protected conduct. Giving Mr. Peck the benefit

 of the inferences to which he is entitled at the pleading stage of this proceeding, he has stated claims

 for retaliation against these nineteen defendants.

         Mr. Peck states that he has exhausted his administrative remedies because he appealed each

 of his disciplinary actions and that disciplinary actions are not grievable. What Mr. Peck

 misunderstands is that his claims here are not based on disciplinary actions which can only be

 challenged in federal court in a habeas corpus proceeding. This is a civil rights complaint and Mr.

 Peck is proceeding on claims of retaliation. He does not state that he filed and appealed grievances

 about each (or any) of these alleged acts of retaliation. Therefore the question of his exhaustion of

 his administrative remedies is an issue left to be resolved later in this case.

         Mr. Peck has provided summons and USM-285's for only fifteen of the nineteen defendants.

 He has not provided either for Jason P. Nowatzke, James L. Cadwell, Bessie E. Leonard, or Ernesto

 Delao. Therefore Mr. Peck will be granted time to prepare and submit a motion requesting service

 of process by the United States Marshals Service along with two properly completed summons and


                                                    3
USDC IN/ND case 3:06-cv-00226-TLS-CAN                   document 22       filed 01/17/07      page 4 of 5


 USM-285's for Jason P. Nowatzke, James L. Cadwell, Bessie E. Leonard, and Ernesto Delao. Mr.

 Peck is cautioned that if he does not provide the court with the documents needed to serve these four

 defendants, the claims against them will be dismissed for failure to prosecute and for not complying

 with an order of this court pursuant to FED . R. CIV . P. 41(b). This case will then proceed against only

 the remaining fifteen defendants.

         For the foregoing reasons, the court:

         (1) GRANTS Bobby Louis Peck leave to proceed against Charles E. Whelan, Barbara L.

 Roseborough, Farshawna L. Crook, Jason P. Nowatzke, James L. Cadwell, Bessie E. Leonard,

 Ernesto Delao, Donald M. Bates, Kristina J. McCarty, John C. Cosich, Larry A. Ludwig, Kyle R.

 Moore, William H. Wilson, Robert Roose, Daniel Bodlovich, Edwin Buss, James Wynn, Rondle

 Anderson, and Cecil K. Davis in their individual capacities for monetary damages and in their

 official capacities for injunctive relief for retaliating against him;

         (2) DISMISSES all other claims;

         (3) DIRECTS the clerk to enclose 8 summons and 4 USM-285's along with the copy of this

 order that is sent to Bobby Louis Peck;

         (4) GRANTS Bobby Louis Peck to and including February 9, 2007 to submit a motion

 requesting service of process by the United States Marshals Service along with two properly

 completed summons and USM-285's for Jason P. Nowatzke, James L. Cadwell, Bessie E. Leonard,

 and Ernesto Delao; and

         (5) CAUTIONS Bobby Louis Peck that if, before that deadline, he does not provide the court

 with the documents needed to serve these defendants, they will be dismissed without further notice




                                                    4
USDC IN/ND case 3:06-cv-00226-TLS-CAN                   document 22      filed 01/17/07      page 5 of 5


 for failure to prosecute and for not complying with an order of this court pursuant to FED . R. CIV . P.

 41(b) and that this case will then proceed against only the remaining fifteen defendants.

         IT IS SO ORDERED.

         ENTERED: January 17, 2007


                                                         S/ ALLEN SHARP
                                                 ALLEN SHARP, JUDGE
                                                 UNITED STATES DISTRICT COURT




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